                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION - DETROIT

                                                     )
In re:                                               ) Case No. 24-43778-mlo
                                                     ) Judge Maria L. Oxholm
 INTERACTIVE HEALTH BENEFITS LLC,                    ) Chapter 11
 d/b/a ACA Track, LLC,                               ) Subchapter V
                                                     )
                      Debtor.                        )
                                                     )

ORDER SCHEDULING HEARING ON DEBTOR’S FIRST DAY MOTIONS

         The Debtor has filed the following First Day Motions:

         • First Day Motion of Debtor for Entry of an Order (I) Authorizing Debtor
           to Pay Certain Prepetition Taxes and Related Obligations and (II)
           Authorizing Banks to Honor and Process Checks and Transfers Relating
           to Such Prepetition Taxes and Related Obligations [Docket No. 7];
         • First Day Motion of Debtor For an Order (I) Authorizing Continued Use
           of Existing Cash Management System, (II) Authorizing Maintenance of
           Existing Bank Accounts, and (III) Authorizing Continued Use of Existing
           Business Forms [Docket No. 8]; and
         • First Day Motion of Debtor For an Order Authorizing: (A) Payment Of
           Prepetition Employee Wages, Salaries, and Other Compensation; (B)
           Reimbursement of Prepetition Employee Business Expenses; (C)
           Payments For Which Prepetition Payroll and Tax Deductions Were Made;
           (D) Payment To Third Parties of All Costs and Expenses Incident To The
           Foregoing Payments And Contributions; and (E) Applicable Banks and
           Other Financial Institutions to Honor and Pay All Checks and Transfers
           Drawn on the Debtor’s Payroll Accounts to Make the Foregoing Payments
           [Docket No. 9].


       IT IS HEREBY ORDERED that the Court will conduct a hearing on the
First Day Motions on Monday April 22, 2024 at 10:00 a.m. before the Honorable
Maria L. Oxholm. The hearing will be conducted by telephone. Consistent with the
Notice of Audio Conferencing Pilot for Judge Oxholm dated November 6, 2023,



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effective immediately and until further notice, Judge Oxholm will conduct all
conferences, non-evidentiary hearings and other matters designated by the Court by
telephone. At least five minutes before the scheduled time for hearing, counsel
and parties should call (202) 503-1666 and use Access Code 966805625#.
Landline connections are much preferred, but cell phone or other telephone services
are allowed. Counsel and parties should place their phone on mute and wait until
their case is called before unmuting their phone and participating.
       IT IS HEREBY FURTHER ORDERED that the Debtor shall serve a copy
of this Order on all interested parties and file a Certificate of Service regarding same
by April 17, 2024.

Signed on April 17, 2024




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